Case 6:16-cv-00080-JRG Document 264 Filed 12/20/17 Page 1 of 2 PageID #: 8903



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

IMPLICIT, LLC,                                    §
                                                  §
                  Plaintiff,                      §
                                                  §
v.                                                §   CIVIL ACTION NO. 6:16-CV-00080-JRG
                                                  §
TREND MICRO, INC.,                                §
                                                  §
                  Defendant.                      §
                                                  §

                                            ORDER

       The Court issues this Order sua sponte.

       On October 29, 2017, in compliance with this Court’s Standing Orders, the Parties

submitted a Joint Motion to Stay and Notice of Settlement (Dkt. No. 257). In their Joint Motion,

the Parties sought a stay of all deadlines for thirty days to “finalize” a settlement agreement and

“file the appropriate dismissal papers.” (Id.) The Court granted this motion and stayed the case.

(Dkt. No. 257.)

       On November 28, 2017, the Parties filed a Joint Stipulated Motion to Extend Temporary

Stay (Dkt. No. 259). The Parties represented in this Joint Stipulated Motion that additional time,

at least seven days, was necessary to incorporate revisions to the apparently not yet finalized

settlement agreement. (Id.) The Court granted this extension, noting that “absent extraordinary

circumstances the Parties should not expect any further extensions.” (Dkt. No. 260.)

       Despite such language, on December 8, 2017, the Parties returned to the Court seeking

another extension of the temporary stay, this time for two additional days. (Dkt. No. 261.) The

Parties represented that such an extension was necessary to permit additional revisions and

discussions. (Id.) The Court granted this additional extension. (Dkt. No. 262.)
Case 6:16-cv-00080-JRG Document 264 Filed 12/20/17 Page 2 of 2 PageID #: 8904



       On December 13, 2017, after the extended deadline had already passed, the Parties filed a

“Joint Notice to the Court Regarding Dismissal With Prejudice.” (Dkt. No. 263.) Rather than

seeking another extension, or some other appropriate form of relief, the Parties simply informed

the Court that they planned to file dismissal papers by December 27, 2017.

       This is not a practice the Court can ignore or condone. Given the pattern of conduct

presented in this case, including a disregard for the Court’s deadlines and the Parties’ apparent

attempt to unilaterally extend their own deadlines, (Dkt. No. 263), the Court believes it should take
  .
a different tact. Accordingly, it is ORDERED that the above captioned case should be and hereby

is DISMISSED WITH PREJUDICE. See, e.g., McCullough v. Lynaugh, 835 F.2d 1126, 1127

(5th Cir. 1988) (district court possess inherent power to dismiss an action sua sponte for failure to

prosecute or failure to comply with an order or rule of the court). The Parties may urge

reconsideration of this Order within thirty days if either party fails to discharge its obligations

under the agreed settlement. In the meantime, the Parties’ dilatory practices come to an end.
     SIGNED this 19th day of December, 2011.
    So ORDERED and SIGNED this 20th day of December, 2017.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE




                                                 2
